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Herbert G. Grey, OSB # 810250         Kristen K. Waggoner, OSB # 067077
4800 SW Griffith Drive, Suite 320      Lead Counsel
Beaverton, Oregon 97005-8716          Email: kwaggoner@ADFlegal.org
Telephone: (503) 641-4908             David A. Cortman, GA Bar # 188810*
Email: herb@greylaw.org               Email: dcortman@ADFlegal.org
                                      Ryan J. Tucker, AZ Bar # 034382*
Gene C. Schaerr, DC Bar # 416368*
                                      Email: rtucker@ADFlegal.org
Email: gschaerr@schaerr-jaffe.com
                                      Mark A. Lippelmann, AZ Bar # 036553*
Nicholas Miller, MI Bar# P70694*
                                      Email: mlippelmann@ADFlegal.org
Email: nmiller@schaerr-jaffe.com
                                      Alliance Defending Freedom
Joshua J. Prince, DC Bar # 1685532*
                                      15100 N. 90th Street
Email: jprince@schaerr-jaffe.com
                                      Scottsdale, Arizona 85260
Schaerr | Jaffe LLP
                                      Telephone: (480) 444-0020
1717 K Street NW, Suite 900
Washington, D.C. 20006
                                      * Admitted pro hac vice
Telephone: (202) 787-1060
* Admitted pro hac vice               Counsel for Defendants-Intervenors
Counsel for Defendant-Intervenor      Western Baptist College d/b/a Corban
Council for Christian Colleges &      University, William Jessup University
Universities                          and Phoenix Seminary

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON

                                Eugene Division

ELIZABETH HUNTER, et al.,                No. 6:21-CV-00474-AA
            Plaintiffs,
            v.
U.S. DEPARTMENT OF EDUCATION,            DEFENDANTS-INTERVENORS’
et al.,                                  OPPOSITION TO MOTION FOR
            Defendants,                  LEAVE TO AMEND COMPLAINT
            v.
COUNCIL FOR CHRISTIAN
COLLEGES & UNIVERSITIES,
WESTERN BAPTIST COLLEGE d/b/a
CORBAN UNIVERSITY, WILLIAM
JESSUP UNIVERSITY, AND
PHOENIX SEMINARY,
            Defendants-Intervenors.
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                                 INTRODUCTION

      Plaintiffs exhausted their right to amend their complaint six months ago. See

First Am. Compl., ECF No. 35. They now seek this Court’s leave to amend it again,

with unnecessary and futile changes that fall into four categories: (1) substituting

parties that Rule 25(d) automatically substitutes; (2) increasing the number of

plaintiffs from 40 to 48; (3) attempting to remedy their failure to file administrative

complaints—the subject of the pending preliminary-injunction motion—before

starting this action; and (4) amending the prayer for relief to seek declaratory

judgment against the two 2020 Final Rules and injunctive relief against the dismissal

of their administrative complaints. But none of these proposed changes fixes the

myriad problems that have plagued this case from the beginning, such as a failure to

adequately invoke jurisdiction, include necessary parties, or state a claim. This Court

should thus deny their futile and unnecessary request to amend the Complaint.

                                    ARGUMENT

      In resolving a motion to amend, courts ask (1) if Plaintiffs have acted with

undue delay, bad faith, or dilatory motive; (2) if Plaintiffs have failed to cure

deficiencies with previous amendments; (3) if granting leave to amend would cause

undue prejudice to the other parties; or (4) if any amendment would be futile.

Hampton v. Steen, No. 2:12-CV-00470-AA, 2017 WL 11573592, at *3 (D. Or. Nov. 13,

2017) (citing Cravalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 892 (9th Cir. 2010));

see also Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001);
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Tadros v. Wilmington Tr., Nat’l Ass’n as Tr. to Citibank, N.A., No. 3:17-CV-01623-

AA, 2018 WL 5298144, at *2 (D. Or. Oct. 25, 2018).

      Here, Plaintiffs’ requested amendment can and should be denied for all of those

four reasons. To begin, none of the proposed changes could save the First Amended

Complaint (“FAC”) from the two pending motions to dismiss, and this Court should

resolve—and grant—those motions at the same time as it denies the instant motion

to amend. And other reasons to deny the motion abound: Not only does this proposed

amendment come six months after this case began—with no explanation for the

delay—but it also has the sole effect of requiring the Defendants to needlessly expend

resources in discovery responding to additional facts that add nothing to the legal

allegations or claims in this case. For each of these reasons, the motion should be

denied.

I.    The proposed amendment is futile and fails to cure the deficiencies in
      the First Amended Complaint.

      The clearest reason to deny Plaintiffs’ motion is that any amendment would be

futile because their Second Amended Complaint (“SAC”) doesn’t fix their case’s fatal

problems. In the Ninth Circuit, “[f]utility alone can justify the denial of a motion for

leave to amend.” Nunes v. Ashcroft, 375 F.3d 805, 808 (9th Cir. 2004). As this Court

has recognized, an amendment is futile if it would not withstand a motion to dismiss.

Rediger v. Country Mut. Ins. Co., No. 6:16-CV-02263-AA, 2017 WL 11593663, at *4

(D. Or. Dec. 3, 2017). Plaintiffs’ motion should be denied for that reason, and the

Court should dismiss the pending claims.




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   A. The Second Amended Complaint is futile because, like the prior
      complaints, it cannot survive a motion to dismiss.

       The new plaintiffs and their factual experiences do not materially change the

merits of the claims in the proposed complaint, and they are as doomed to dismissal

now as they were when Plaintiffs filed this case nearly a year ago. Indeed, the

putative plaintiffs do not offer anything different than the existing ones, and their

claims would be just as dismissible as their colleagues already before the Court. As

this Court has repeatedly emphasized, an “[a]mendment is futile if the amended

claim ‘would also be subject to dismissal.’” Rediger, 2017 WL 11593663, at *4 (citing

Novak v. United States, 795 F.3d 1012, 1020 (9th Cir. 2015)); Tadros, 2018 WL

5298144, at *2 (citing Moore v. Kayport Package Express, Inc., 885 F.2d 531, 538 (9th

Cir. 1989)) (“Leave to amend need not be given if a complaint, as amended, is subject

to dismissal.”).

       A comparison between Tadros and Rediger is instructive. In Tadros, this Court

rejected a motion to amend after concluding that the amendment did not add facts or

legal theories to remedy already dismissed claims. See 2018 WL 5298144, at *4. By

contrast, in Rediger, this Court allowed many proposed amendments because the

newly added claims could lead to later factual developments that would inform

whether affirmative defenses would be successful. See 2017 WL 11593663, at *4.

Despite their differences, those cases teach an important lesson: “In evaluating

whether an amendment is futile,” this Court should first undergo a rigorous analysis

to determine “whether [the amended complaint] would survive a 12(b)(6) motion to

dismiss.” Id.


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      Here, the proposed amendments do nothing to fix the manifold and fatal

problems identified in the two pending motions to dismiss. Intervenors’ Joint Mot. to

Dismiss, ECF No. 137; Dep’t’s Mot. to Dismiss, ECF No. 56. The proposed SAC—just

like the FAC and the original complaint before it—fails to properly invoke this Court’s

jurisdiction, include necessary parties, or state a claim. 1 And, as the Intervenors

recently informed this Court, the Ninth Circuit provided even further reason to

dismiss Plaintiffs’ APA claims when it determined that the substance of both the

August and November Rules are consistent with the plain meaning of Title IX and

with the Department’s longstanding internal practices. Intervenors’ Notice of Suppl.

Authority at 4, ECF No. 155 (citing Maxon v. Fuller Theological Seminary, No. 20-

56156, 2021 WL 5882035 (9th Cir. 2021) (unpublished)). Because the proposed SAC

does not help the Court evaluate the merits of Plaintiffs’ claims, and because it places

the Plaintiffs in no better position legally, the amendment is futile. The motion should

thus be denied.

      B. Because the “futility” analysis is the same as the 12(b) analysis, this
         Court should resolve and grant the pending motions to dismiss as
         it considers futility.

      Because this Court must conduct a 12(b) analysis as it considers whether

amendment is futile, it should decide the motions to dismiss together with the motion

for leave to amend. This can be done without additionally burdening already limited

judicial resources because, as addressed previously, this Court has already recognized



1The necessary-party point and the fact that Plaintiffs failed to state a claim under
the APA were unique to the Joint Intervenors’ Motion. Joint Mot. to Dismiss at 7–20,
ECF No. 137.
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that the analysis for resolving futility is indistinguishable from the analysis for

resolving a 12(b) motion. Rediger, 2017 WL 11593663, at *4. Moreover, as Plaintiffs

recognize, the legal theories and causes of action have not changed, save for some

additions to the prayer for relief. Because the two inquiries are the same, this Court

should resolve them together.

II.    Plaintiffs have no excuse for their undue delay.

       Yet another reason that this Court should deny leave to amend is that

Plaintiffs’ six-month delay is inexcusable. In evaluating undue-delay, courts ask

whether “the moving party knew or should have known the facts and theories raised

by the amendment in the original pleading.” Jackson v. Bank of Hawaii, 902 F.2d

1385, 1388 (9th Cir. 1990); see also E.E.O.C. v. Boeing Co., 843 F.2d 1213, 1222 (9th

Cir. 1988).

       Here, Plaintiffs could have pleaded their allegations and prayer for relief

correctly in their March 2021 original complaint or in their June 2021 FAC. They

knew the legal theories that informed their prayer for relief. They knew of the August

and November 2020 Final Rules. And they knew that they would bring Title IX

complaints. Their failure to properly draft their allegations and prayer for relief as

they drafted their initial complaint(s), despite their knowledge, is inexcusable and

provides yet another reason to deny them leave to amend.

III.   The proposed amendment would unduly prejudice the Defendants.

       In addition to the amendment’s futility and undue delay, the Court should

deny the motion to amend because of the harms it would impose on the other parties

as this case progresses.

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      Courts in the Ninth Circuit routinely consider the addition of new parties and

facts to be prejudicial because they do nothing more than require defendants to

“expend time and resources” to respond. Davis v. Astrue, 250 F.R.D. 476, 482 (N.D.

Cal. 2008); see also Fid. Fin. Corp. v. Fed. Home Loan Bank of San Francisco, 792

F.2d 1432, 1438 (9th Cir. 1986).

      In Davis, for example, the plaintiff sought to add facts that did nothing but

“further support . . . previously alleged theories.” 250 F.R.D. at 482. In evaluating the

motion for leave, the court found that the Plaintiff’s “required outlays” would

prejudice the defendants by requiring them to “expend time and resources in drafting

responses.” Id. The same was true in Fidelity, where the Ninth Circuit affirmed a

district court’s finding that newly alleged facts and claims were “simply restating

[plaintiffs’] prior claims under new labels.” 792 F.2d at 1438. In such cases, the

additional “time in the discovery process rather than engaging in . . . normal duties”

is unduly prejudicial. See Jackson, 902 F.2d at 1387–88; see also Jordan v. Los

Angeles Cnty., 669 F.2d 1311, 1324 (9th Cir. 1982) (vacated on other grounds)

(affirming the denial of a motion for leave when the defendants “would have been

required to conduct extensive, costly discovery in order to respond to the amended

complaint”).

      In sum, “if [an] amendment causes an undue prejudice by requiring additional

discovery or unnecessarily complicates the litigation,” Ruggles v. Wellpoint, Inc., 687

F. Supp. 2d 30, 34 (N.D.N.Y. 2009), including by increasing the need for “further

document requests, and third party discovery,” Presidio Components, Inc. v. Am.



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Tech. Ceramics Corp., No. 08cv335-IEG-NLS, 2009 WL 10668682, at *3 (S.D. Cal.

May 19, 2009), the motion to amend may be denied.

      Each of those cases provides ample reason to reject the motion to amend. As

addressed above, Plaintiffs themselves admit that the operative facts in the SAC are

largely the same. Mot. to Am. at 5, ECF No. 148. Thus, as in Fidelity, their proposed

“new” allegations repeat their same flawed mantra. See 792 F.2d at 1438. But

Plaintiffs err in suggesting (at 4–5) that the addition of new plaintiffs seeking to “be

heard,” would be harmless.

      To the contrary, if this case were to survive the motions to dismiss, the addition

of multiple new plaintiffs from multiple new schools would lead to significant third-

party discovery burdens, as the Defendants will be required to find witnesses to

respond to the factual allegations raised against each of the schools mentioned in the

SAC. Joint Mot. to Dismiss at 14–16, ECF No. 137 (explaining that the as-applied

challenges to the Title IX religious exemption include “facts specific to each school”). 2

Because this additional discovery would place additional and enormous burdens on

the Defendants without materially changing the merits of Plaintiffs’ frivolous claims,

the amendment would unduly prejudice the Defendants.




2The addition of new schools and new plaintiffs, if anything, only compounds the
problems with Plaintiffs’ failure to include necessary parties.
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                                 CONCLUSION

      Plaintiffs’ proposed amendments are unnecessary, futile, unduly delayed, and

unduly prejudicial to the Defendants. For those reasons, the proposed SAC is as

meritless as the previous two complaints and should be rejected. And because this

Court will necessarily undergo an analysis of the SAC’s merits in resolving whether

the motion to amend is futile, it should grant the pending motions to dismiss in the

process.

               Respectfully submitted this 7th day of January, 2022.

/s/ Gene C. Schaerr                       /s/ Mark A. Lippelmann
Gene C. Schaerr, DC Bar # 416368*         Kristen K. Waggoner, OSB # 067077
Email: gschaerr@schaerr-jaffe.com           Lead Counsel
Nicholas Miller, MI Bar# P70694*          Email: kwaggoner@ADFlegal.org
Email: nmiller@schaerr-jaffe.com          David A. Cortman, GA Bar # 188810*
Joshua J. Prince, DC Bar # 1685532*       Email: dcortman@ADFlegal.org
Email: jprince@schaerr-jaffe.com          Ryan J. Tucker, AZ Bar # 034382*
Schaerr | Jaffe LLP                       Email: rtucker@ADFlegal.org
1717 K Street NW, Suite 900               Mark A. Lippelmann, AZ Bar # 036553*
Washington, D.C. 20006                    Email: mlippelmann@ADFlegal.org
Telephone: (202) 787-1060                 Alliance Defending Freedom
/s/ Herbert G. Grey                       15100 N. 90th Street
Herbert G. Grey, OSB # 810250             Scottsdale, Arizona 85260
4800 SW Griffith Drive, Suite 320         Telephone: (480) 444-0020
Beaverton, Oregon 97005-8716
Telephone: (503) 641-4908                 * Admitted pro hac vice
Email: herb@greylaw.org
                                          Counsel for Defendants-Intervenors
* Admitted pro hac vice                   Western Baptist College d/b/a Corban
                                          University, William Jessup University
Counsel for Defendant-Intervenor          and Phoenix Seminary
Council for Christian Colleges &
Universities



8-Defendants-Intervenors’ Opposition to Motion for Leave to Amend Complaint
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                          CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing document was served on all counsel

of record in this case by ECF and by email.



January 7, 2022                               /s/ Gene C. Schaerr
                                              Gene C. Schaerr

                                              Counsel for Defendant-Intervenor
                                              Council for Christian Colleges &
                                              Universities




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